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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


                                                 )
 UNITED STATES OF AMERICA                        )      Criminal No. 16-CR-10343-7-ADB
                                                 )
       v.                                        )
                                                 )
 JOHN N. KAPOOR,                                 )
                                                 )
       Defendant.
                                                 )

                             ASSENTED-TO MOTION TO SEAL

       Dr. Kapoor, through undersigned counsel and with the assent of the government (though

Assistant United States Attorney David Lazarus), respectfully moves to seal two exhibits to Dr.

Kapoor’s “Motion to Permit Limited Financial Transactions Pending Sentencing,” specifically

Sealed Exhibits 2 and 3. In support of this motion, Dr. Kapoor states that these exhibits contain

personal, confidential, and/or financial information.
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Dated: November 1, 2019               Respectfully submitted,

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                                      Attorneys for Dr. John Kapoor




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                         LOCAL RULE 7.1 CERTIFICATION

       Pursuant to Local Rule 7.1(a)(2), I hereby certify that counsel for Dr. Kapoor conferred
with the government, and that counsel for the government has indicated their assent to this motion.

                            CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document will be served on counsel for all parties of
record through the ECF system.

                                              /s/ Kosta S. Stojilkovic
                                              Kosta S. Stojilkovic
                                              Counsel for Dr. John Kapoor




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